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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

 TIMOTHY BREMER, Individually and on
 behalf of all others similarly situated,             Case No: 1:21-cv-2

        Plaintiff,                                    CLASS ACTION COMPLAINT FOR
                                                      VIOLATION OF THE FEDERAL
        v.                                            SECURITIES LAWS

                                                      JURY TRIAL DEMANDED
 SOLARWINDS CORPORATION, KEVIN B.
 THOMPSON, and J. BARTON KALSU,

        Defendants.


       Plaintiff Timothy Bremer (“Plaintiff”), by Plaintiff’s undersigned attorneys, individually

and on behalf of all other persons similarly situated, alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through his attorneys, which

included, among other things, a review of Defendants’ public documents, conference calls and

announcements made by Defendants, United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by and regarding SolarWinds Corporation

(“SolarWinds” or the “Company”), and information readily obtainable on the Internet. Plaintiff

believes that substantial evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a class action on behalf of persons or entities who purchased or otherwise

acquired publicly traded SolarWinds securities from February 24, 2020 through December 15,

2020, inclusive (the “Class Period”). Plaintiff seeks to recover compensable damages caused by




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Defendants’ violations of the federal securities laws under the Securities Exchange Act of 1934

(the “Exchange Act”).

                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by

the SEC (17 C.F.R. § 240.10b-5).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the Company’s principal executive

offices are located in this judicial district and alleged the misstatements and the subsequent

damages took place in this judicial district.

       5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.

                                                PARTIES

       6.      Plaintiff, as set forth in the accompanying certification incorporated by reference

herein, purchased SolarWinds securities during the Class Period and was economically damaged

thereby.

       7.      Defendant SolarWinds purports to provide information technology (IT)

infrastructure management software products in the United States and internationally. The

Company offers products to monitor and manage network, system, desktop, application, storage,




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and database and website infrastructures, whether on-premise, in the public or private cloud, or

in a hybrid IT infrastructure. SolarWinds is a Delaware corporation and its principal executive

offices are located at 7171 Southwest Parkway, Building 400, Austin, Texas 78735.

SolarWinds’s securities trade on the New York Stock Exchange (“NYSE”) under the ticker

symbol “SWI.”

       8.      Defendant Kevin B. Thompson (“Thompson”) has been the Company’s Chief

Executive Officer (“CEO”), President, and Director throughout the Class Period.

       9.      Defendant J. Barton Kalsu (“Kalsu”) has been the Company’s Chief Financial

Officer (“CFO”), Executive Vice President, and Treasurer throughout the Class Period.

       10.     Defendants Thompson and Kalsu are collectively referred to herein as the

“Individual Defendants.”

       11.     Each of the Individual Defendants:

               a.     directly participated in the management of the Company;

               b.     was directly involved in the day-to-day operations of the Company at the

                      highest levels;

               c.     was privy to confidential proprietary information concerning the Company

                      and its business and operations;

               d.     was directly or indirectly involved in drafting, producing, reviewing

                      and/or disseminating the false and misleading statements and information

                      alleged herein;

               e.     was directly or indirectly involved in the oversight or implementation of

                      the Company’s internal controls;

               f.     was aware of or recklessly disregarded the fact that the false and




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                       misleading statements were being issued concerning the Company; and/or

               g.      approved or ratified these statements in violation of the federal securities

                       laws.

       12.     SolarWinds is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of

the wrongful acts complained of herein were carried out within the scope of their employment.

       13.     The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to SolarWinds under respondeat superior and agency principles.

       14.     Defendant SolarWinds and the Individual Defendants are collectively referred to

herein as “Defendants.”

                            SUBSTANTIVE ALLEGATIONS
        Materially False and Misleading Statements Issued During the Class Period

       15.     On February 24, 2020, the Company filed a Form 10-K for the fiscal year ended

December 31, 2019 (the “2019 10-K”). The 2019 10-K was signed by Defendants Thompson

and Kalsu. The 2019 10-K contained signed certifications pursuant to the Sarbanes-Oxley Act of

2002 (“SOX”) by Defendants Thompson and Kalsu attesting to the accuracy of financial

reporting, the disclosure of any material changes to the Company’s internal control over financial

reporting and the disclosure of all fraud.

       16.     The 2019 10-K stating the following risk regarding the Company’s cybersecurity

measures:

       The risk of a security breach or disruption, particularly through cyberattacks or
       cyber intrusion, including by computer hacks, foreign governments, and cyber
       terrorists, has generally increased the number, intensity and sophistication of
       attempted attacks, and intrusions from around the world have increased. In
       addition, sophisticated hardware and operating system software and applications
       that we procure from third parties may contain defects in design or manufacture,
       including “bugs” and other problems that could unexpectedly interfere with the
       operation of our systems.

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       Because the techniques used to obtain unauthorized access or to sabotage systems
       change frequently and generally are not identified until they are launched against
       a target, we may be unable to anticipate these techniques or to implement
       adequate preventative measures. We may also experience security breaches that
       may remain undetected for an extended period and, therefore, have a greater
       impact on the products we offer, the proprietary data contained therein, and
       ultimately on our business.

       The foregoing security problems could result in, among other consequences,
       damage to our own systems or our customers’ IT infrastructure or the loss or theft
       of our or our customers’ proprietary or other sensitive information. The costs to us
       to eliminate or address the foregoing security problems and security
       vulnerabilities before or after a cyber incident could be significant. Our
       remediation efforts may not be successful and could result in interruptions, delays
       or cessation of service and loss of existing or potential customers that may impede
       sales of our products or other critical functions. We could lose existing or
       potential customers in connection with any actual or perceived security
       vulnerabilities in our websites or our products.

                                        *       *      *

        Despite our security measures, unauthorized access to, or security breaches of,
       our software or systems could result in the loss, compromise or corruption of data,
       loss of business, severe reputational damage adversely affecting customer or
       investor confidence, regulatory investigations and orders, litigation, indemnity
       obligations, damages for contract breach, penalties for violation of applicable
       laws or regulations, significant costs for remediation and other liabilities. We
       have incurred and expect to incur significant expenses to prevent security
       breaches, including deploying additional personnel and protection technologies,
       training employees, and engaging third-party experts and consultants. Our errors
       and omissions insurance coverage covering certain security and privacy damages
       and claim expenses may not be sufficient to compensate for all liabilities we
       incur.

       17.    On May 8, 2020, the Company filed a Form 10-Q for the quarter ended March 31,

2020 (the “1Q20 10-Q”). The 1Q20 10-Q was signed by Defendant Kalsu. The 1Q20 10-Q

contained signed SOX certifications by Defendants Thompson and Kalsu attesting to the

accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

control over financial reporting and the disclosure of all fraud. The 1Q20 10-Q incorporated by

reference the Company’s description of the cybersecurity risk in ¶16.




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       18.    On August 10, 2020, the Company filed a Form 10-Q for the quarter ended June

30, 2020 (the “2Q20 10-Q”). The 2Q20 10-Q was signed by Defendant Kalsu. The 2Q20 10-Q

contained signed SOX certifications by Defendants Thompson and Kalsu attesting to the

accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

control over financial reporting and the disclosure of all fraud. The 2Q20 10-Q incorporated by

reference the Company’s description of the cybersecurity risk in ¶16.

       19.    On November 5, 2020, the Company filed a Form 10-Q for the quarter ended

September 30, 2020 (the “3Q20 10-Q”). The 3Q20 10-Q was signed by Defendant Kalsu. The

3Q20 10-Q contained signed SOX certifications by Defendants Thompson and Kalsu attesting to

the accuracy of financial reporting, the disclosure of any material changes to the Company’s

internal control over financial reporting and the disclosure of all fraud.     The 3Q20 10-Q

incorporated by reference the Company’s description of the cybersecurity risk in ¶16.

       20.    The statements referenced in Paragraphs 16-19 above were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business, operations, and prospects, which were known to

Defendants or recklessly disregarded by them. Specifically, Defendants made false and/or

misleading statements and/or failed to disclose that: (1) since mid-2020, SolarWinds Orion

monitoring products had a vulnerability that allowed hackers to compromise the server upon

which the products ran; (2) SolarWinds’ update server had an easily accessible password of

‘solarwinds123’; (3) consequently, SolarWinds’ customers, including, among others, the Federal

Government, Microsoft, Cisco, and Nvidia, would be vulnerable to hacks; (4) as a result, the

Company would suffer significant reputational harm; and (5) as a result, Defendants’ statements

about SolarWinds’s business, operations and prospects were materially false and misleading




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and/or lacked a reasonable basis at all relevant times.

                                   The Truth Begins to Emerge

       21.        On December 13, 2020, Reuters reported that hackers alleged to be working for

the Russian government had monitored email traffic at the U.S. Treasury and Commerce

departments and that the alleged hackers are believed to have gained access to the agencies’

email traffic by deceptively interfering with updates released by SolarWinds, which services

various government vendors in the executive branch, the military, and the intelligence services.

       22.        On December 14, 2020, SolarWinds filed a Form 8-K with the SEC, disclosing

that it had been the subject of hack on its Orion monitoring products. The Company stated, in

pertinent part:

       SolarWinds Corporation (“SolarWinds” or the “Company”) has been made aware
       of a cyberattack that inserted a vulnerability within its Orion monitoring products
       which, if present and activated, could potentially allow an attacker to compromise
       the server on which the Orion products run. SolarWinds has been advised that this
       incident was likely the result of a highly sophisticated, targeted and manual
       supply chain attack by an outside nation state, but SolarWinds has not
       independently verified the identity of the attacker. SolarWinds has retained third-
       party cybersecurity experts to assist in an investigation of these matters, including
       whether a vulnerability in the Orion monitoring products was exploited as a point
       of any infiltration of any customer systems, and in the development of appropriate
       mitigation and remediation plans. SolarWinds is cooperating with the Federal
       Bureau of Investigation, the U.S. intelligence community, and other government
       agencies in investigations related to this incident.

       Based on its investigation to date, SolarWinds has evidence that the vulnerability
       was inserted within the Orion products and existed in updates released between
       March and June 2020 (the “Relevant Period”), was introduced as a result of a
       compromise of the Orion software build system and was not present in the source
       code repository of the Orion products. SolarWinds has taken steps to remediate
       the compromise of the Orion software build system and is investigating what
       additional steps, if any, should be taken. SolarWinds is not currently aware that
       this vulnerability exists in any of its other products.

       23.        On this news, the Company’s shares fell $3.93 per share, or 17%, to close at

$19.62 per share on December 14, 2020, damaging investors.


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        24.     On December 15, 2020, Reuters published an article stating that, last year,

security researcher Vinoth Kumar “alerted the company that anyone could access SolarWinds’

update server by using the password ‘solarwinds123.’” The article also disclosed that, according

to Kyle Hanslovan, the cofounder of Maryland-based cybersecurity company Huntress, “days

after SolarWinds realized their software had been compromised, the malicious updates were still

available for download.”

        25.     On this news, the Company’s shares fell $1.56 per share or 8% to close at $18.06

per share on December 15, 2020, damaging investors.

        26.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                          PLAINTIFF’S CLASS ACTION ALLEGATIONS

        27.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants

who acquired SolarWinds securities publicly traded on NYSE during the Class Period, and who

were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers and

directors of SolarWinds, members of the Individual Defendants’ immediate families and their

legal representatives, heirs, successors or assigns and any entity in which Defendants have or had

a controlling interest.

        28.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, SolarWinds securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not




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thousands of members in the proposed Class.

       29.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       30.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       31.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       a.      whether the Exchange Act was violated by Defendants’ acts as alleged herein;

       b.      whether statements made by Defendants to the investing public during the Class

               Period misrepresented material facts about the business, operations and

               management of SolarWinds;

       c.      whether the Defendants’ public statements to the investing public during the Class

               Period omitted material facts necessary to make the statements made, in light of

               the circumstances under which they were made, not misleading;

       d.      whether Defendants caused SolarWinds to issue false and misleading SEC filings

               during the Class Period;

       e.      whether Defendants acted knowingly or recklessly in issuing false and misleading

               financial statements;

       f.      whether the prices of SolarWinds securities during the Class Period were

               artificially inflated because of defendants’ conduct complained of herein; and




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        g.        whether the members of the Class have sustained damages and, if so, what is the

                  proper measure of damages.

        32.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        33.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

        a.        SolarWinds shares met the requirements for listing, and were listed and actively

                  traded NYSE, a highly efficient and automated market;

        b.        As a public issuer, SolarWinds filed periodic public reports with the SEC;

        c.        SolarWinds regularly communicated with public investors via established market

                  communication mechanisms, including through the regular dissemination of press

                  releases via major newswire services and through other wide-ranging public

                  disclosures, such as communications with the financial press and other similar

                  reporting services; and

        d.        SolarWinds was followed by a number of securities analysts employed by major

                  brokerage firms who wrote reports that were widely distributed and publicly

                  available.

        34.       Based upon the foregoing, the market for SolarWinds securities promptly digested

current information regarding SolarWinds from all publicly available sources and reflected such




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information in the prices of the shares, and Plaintiff and the members of the Class are entitled to

a presumption of reliance upon the integrity of the market.

         35.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed

above.

                                             COUNT I
               Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                      Against All Defendants

         36.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

         37.      This Count is asserted against Defendants based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

         38.     During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

         39.     Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                 a.       employed devices, schemes and artifices to defraud;

                 b.       made untrue statements of material facts or omitted to state material facts

                          necessary in order to make the statements made, in light of the

                          circumstances under which they were made, not misleading; or



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               c.      engaged in acts, practices and a course of business that operated as a fraud

                       or deceit upon Plaintiff and others similarly situated in connection with

                       their purchases of SolarWinds securities during the Class Period.

       40.     Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of SolarWinds were materially false and

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws.

These defendants by virtue of their receipt of information reflecting the true facts of SolarWinds,

their control over, and/or receipt and/or modification of SolarWinds’s allegedly materially

misleading statements, and/or their associations with the Company which made them privy to

confidential proprietary information concerning SolarWinds, participated in the fraudulent

scheme alleged herein.

       41.      Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other SolarWinds personnel to members

of the investing public, including Plaintiff and the Class.

       42.     As a result of the foregoing, the market price of SolarWinds securities was

artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

Plaintiff and the other members of the Class relied on the statements described above and/or the

integrity of the market price of SolarWinds securities during the Class Period in purchasing




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SolarWinds securities at prices that were artificially inflated as a result of Defendants’ false and

misleading statements.

          43.   Had Plaintiff and the other members of the Class been aware that the market price

of SolarWinds securities had been artificially and falsely inflated by Defendants’ misleading

statements and by the material adverse information which Defendants did not disclose, they

would not have purchased SolarWinds securities at the artificially inflated prices that they did, or

at all.

          44.   As a result of the wrongful conduct alleged herein, Plaintiff and other members

of the Class have suffered damages in an amount to be established at trial.

          45.   By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members

of the Class for substantial damages which they suffered in connection with their purchase of

SolarWinds securities during the Class Period.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

          46.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

          47.   During the Class Period, the Individual Defendants participated in the operation

and management of SolarWinds, and conducted and participated, directly and indirectly, in the

conduct of SolarWinds’s business affairs. Because of their senior positions, they knew the

adverse non-public information about SolarWinds’s corporate governance and business

prospects.

          48.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to

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SolarWinds’s business practices, and to correct promptly any public statements issued by

SolarWinds which had become materially false or misleading.

        49.      Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which SolarWinds disseminated in the marketplace during the Class

Period concerning the Company’s corporate governance and business prospects. Throughout the

Class Period, the Individual Defendants exercised their power and authority to cause SolarWinds

to engage in the wrongful acts complained of herein. The Individual Defendants therefore, were

“controlling persons” of SolarWinds within the meaning of Section 20(a) of the Exchange Act.

In this capacity, they participated in the unlawful conduct alleged which artificially inflated the

market price of SolarWinds securities.

        50.      By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by SolarWinds.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment and

relief as follows:

        A.       Declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating Plaintiff’s counsel as Lead Counsel;

        B.       Awarding damages in favor of plaintiff and the other Class members against all

defendants, jointly and severally, together with interest thereon;

        C.       Awarding Plaintiff and the Class reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and




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       D.     Awarding Plaintiff and other members of the Class such other and further relief as

the Court may deem just and proper.

                                  DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: January 4, 2020                       Respectfully submitted,

                                             STECKLER WAYNE COCHRAN PLLC

                                              /s/ L. Kirstine Rogers
                                             L. Kirstine Rogers
                                             Texas Bar No. 24033009
                                             Stuart L. Cochran (to be admitted)
                                             Texas Bar No. 24027936
                                             Barden M. Wayne (to be admitted)
                                             Texas Bar No. 24075247
                                             12720 Hillcrest Rd, Suite 1045
                                             Dallas, Texas 75230
                                             Telephone: (972) 387-4040
                                             Facsimile: (972) 387-4041
                                             Email: krogers@swclaw.com
                                                      stuart@swclaw.com
                                                      braden@swclaw.com

                                             -and-

                                             THE ROSEN LAW FIRM, P.A.
                                             Phillip Kim, Esq. (not admitted)
                                             Laurence M. Rosen, Esq. (not admitted)
                                             275 Madison Avenue, 40th Floor
                                             New York, NY 10016
                                             Telephone: (212) 686-1060
                                             Fax: (212) 202-3827
                                             Email: pkim@rosenlegal.com
                                                     lrosen@rosenlegal.com
                                             Counsel for Plaintiff




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Certification and Authorization of Named Plaintiff Pursuant
to Federal Securities Laws
The individual or institution listed below (the "Plaintiff") authorizes and, upon execution
of the accompanying retainer agreement by The Rosen Law Firm P.A., retains The Rosen
Law Firm P.A. to file an action under the federal securities laws to recover damages and
to seek other relief against SolarWinds Corporation. The Rosen Law Firm P.A. will
prosecute the action on a contingent fee basis and will advance all costs and expenses.
The SolarWinds Corporation. Retention Agreement provided to the Plaintiff is
incorporated by reference, upon execution by The Rosen Law Firm P.A.

 First name:          TIMOTHY
 Middle initial:      L
 Last name:           BREMER
 Address:
                        REDACTED
 City:
 State:
 Zip:
 Country:
 Facsimile:
 Phone:
 Email:

Plaintiff certifies that:

1. Plaintiff has reviewed the complaint and authorized its filing.
2. Plaintiff did not acquire the security that is the subject of this action at the direction
   of plaintiff's counsel or in order to participate in this private action or any other
   litigation under the federal securities laws.
3. Plaintiff is willing to serve as a representative party on behalf of a class, including
   providing testimony at deposition and trial, if necessary.
4. Plaintiff represents and warrants that he/she/it is fully authorized to enter into and
   execute this certification.
5. Plaintiff will not accept any payment for serving as a representative party on behalf
   of the class beyond the Plaintiff's pro rata share of any recovery, except such
   reasonable costs and expenses (including lost wages) directly relating to the
   representation of the class as ordered or approved by the court.
6. Plaintiff has made no transaction(s) during the Class Period in the debt or equity
   securities that are the subject of this action except those set forth below:

Acquisitions:

   Type of Security              Buy Date           # of Shares       Price per Share
   Common Stock                  09/23/2020         2                 19.93
   Common Stock                  10/22/2020         38                21.54




7. I have not served as a representative party on behalf of a class under the federal
   securities laws during the last three years, except if detailed below. [ ]

I declare under penalty of perjury, under the laws of the
United States, that the information entered is accurate:                 YES
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Certification for TIMOTHY BREMER (cont.)


By clicking on the button below, I intend to sign and execute
this agreement and retain the Rosen Law Firm, P.A. to
proceed on Plaintiff's behalf, on a contingent fee basis.            YES

Signed pursuant to California Civil Code Section 1633.1, et seq. - and the Uniform
Electronic Transactions Act as adopted by the various states and territories of the
United States.

Date of signing: 01/03/2021
